         Case 3:18-mc-00035-VLB Document 3 Filed 03/23/18 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


                     NOTICE REGARDING ELECTRONIC FILING


      All civil cases assigned to Judge Bryant will be designated as

electronically filed cases, and thus be subject to the attached Electronic

Filing Order, (including pro se prisoner cases and social security

disability appeals). Documents filed electronically must be filed in OCR

text searchable PDF format. Any attorney may file a motion for Exemption

From Electronic Filing within fourteen (14) days after the attorney enters

an appearance in the case, which shall be decided by the Judge.


      In order to be able to file documents electronically, an attorney must

first register with the clerk’s office and obtain an electronic filing login and

password. Registration forms are available on the Court’s website, along

with a tutorial on electronic filing (www.ctd.uscourts.gov/cmecf/). Training

in electronic filing is also available to attorneys through the clerk’s office.




                                      FOR THE COURT


                                      ROBIN D. TABORA,
                                      CLERK OF COURT

Rev 9/9/13
              Case 3:18-mc-00035-VLB Document 3 Filed 03/23/18 Page 2 of 2

                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


                                   ELECTRONIC FILING ORDER

       All documents in this case will be filed electronically and must be filed in Tagged PDF

format, enabling text recognition. Counsel should review documents for accessibility in Adobe

Acrobat or other PDF software. Counsel are reminded that they must comply with the

requirements set forth in the District Court's CM/ECF Policies and Procedures Manual. All

documents must be typewritten using Arial bold 12 point font, double spaced. Pleadings must

comply with all applicable provisions of D. Conn. L. Civ. R. 10(a).

       Counsel must provide Chambers with one paper copy of the following on the business day

following the day on which the document is filed electronically, unless otherwise ordered:

       a. Any filing requesting relief on an emergency basis;

       b. Any (joint) trial memorandum, including proposed findings of fact and conclusions of

          law as well as any motions in limine;

       c. Any filing that is filed on the docket less than seven days prior to a scheduled Court

          hearing in which the filing is necessary.

       Counsel must provide Chambers with a paper copy of non-emergency filings, including

pleadings, briefs and exhibits supporting or opposing any motion to dismiss, motion for

summary judgment, or other motion, and any other document that exceeds 15 pages, by regular

postal mail, FedEx, UPS, courier, or the like. Chambers copies of such filings do not need to be

sent by overnight mail.

       All chambers copies must be printed from the docket and should bear the header of the

Court’s electronic filing system, unless printing from the docket renders the exhibit illegible or

excludes or obliterates relevant portions of the exhibit, in which case the filing party should

clearly indicate at what docket entry number the exhibit appears.

                                                  SO ORDERED.

                                                  ________/s/______________

                                                  Hon. Vanessa L. Bryant
                                                  United States District Judge
Revised 1/17/2018
